Case 14-35871   Doc 1   Filed 10/02/14 Entered 10/02/14 09:43:32   Desc Main
                          Document     Page 1 of 11
Case 14-35871   Doc 1   Filed 10/02/14 Entered 10/02/14 09:43:32   Desc Main
                          Document     Page 2 of 11
Case 14-35871   Doc 1   Filed 10/02/14 Entered 10/02/14 09:43:32   Desc Main
                          Document     Page 3 of 11
Case 14-35871   Doc 1   Filed 10/02/14 Entered 10/02/14 09:43:32   Desc Main
                          Document     Page 4 of 11
Case 14-35871   Doc 1   Filed 10/02/14 Entered 10/02/14 09:43:32   Desc Main
                          Document     Page 5 of 11
Case 14-35871   Doc 1   Filed 10/02/14 Entered 10/02/14 09:43:32   Desc Main
                          Document     Page 6 of 11
Case 14-35871   Doc 1   Filed 10/02/14 Entered 10/02/14 09:43:32   Desc Main
                          Document     Page 7 of 11
Case 14-35871   Doc 1   Filed 10/02/14 Entered 10/02/14 09:43:32   Desc Main
                          Document     Page 8 of 11
Case 14-35871   Doc 1   Filed 10/02/14 Entered 10/02/14 09:43:32   Desc Main
                          Document     Page 9 of 11
Case 14-35871   Doc 1   Filed 10/02/14 Entered 10/02/14 09:43:32   Desc Main
                         Document     Page 10 of 11
Case 14-35871   Doc 1   Filed 10/02/14 Entered 10/02/14 09:43:32   Desc Main
                         Document     Page 11 of 11
